46 F.3d 1122
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Peter Emmanuel BERNARD, Plaintiff Appellant,v.B. SOLES;  David K. Smith;  Marsha Altizer, ChiefPsychologist, Defendants Appellees.
    No. 94-6741.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 20, 1994.Decided Jan. 12, 1995.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Jackson L. Kiser, Chief District Judge.  (CA-93-355-R)
      Peter Emmanuel Bernard, Appellant Pro Se.  Pamela Anne Sargent, Assistant Attorney General, Richmond, VA, for Appellees.
      W.D.Va.
      AFFIRMED.
      Before MURNAGHAN, WILKINSON, and HAMILTON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Bernard v. Soles, No. CA-93-355-R (W.D.Va. June 3, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    